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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

JENNIFER EVANS,                                   §
                       Plaintiff,                 §
v.                                                §
                                                  §
CENTENE COMPANY OF TEXAS L.P.,                    §        No. 1:18-CV-266-ML
              Defendant.                          §
                                                  §
                                                  §
                                                  §
                                                  §

                         ORDER SETTING STATUS CONFERENCE

       On September 13, 2018, this matter was transferred to the undersigned. Dkt. #15. With

the transfer of this matter, a brief status and scheduling conference is appropriate.

       The court hereby sets and directs the parties, or counsel acting on their behalf, to

participate in a telephonic status conference at 3:00 p.m., Tuesday, October 02, 2018 at

telephone number (512) 916-5896, ext. 8597. Counsel for Plaintiff shall be responsible for

initiating and coordinating the call. The court requests that all parties participate in the call using

a landline, rather than cellular phone.

       SIGNED September 18, 2018.
                                               _______________________________
                                               MARK LANE
                                               UNITED STATES MAGISTRATE JUDGE
